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                                                CIGNA BEHAVIORAL HEALTH, INC.
                                           12
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   [ADDITIONAL COUNSEL LISTED ON
                                                SIGNATURE PAGE]
                                           14

                                           15                                 UNITED STATES DISTRICT COURT
                                           16                             NORTHERN DISTRICT OF CALIFORNIA
                                           17   RJ, as the representative of her beneficiary son   Case No. 5:20-cv-02255-EJD
                                                SJ; LW as the representative of her
                                           18
                                                beneficiary spouse MW; and, DS, an                 JOINT STIPULATION AND [PROPOSED]
                                           19   individual, on behalf of themselves and all        ORDER TO SUBSTITUTE AND DISMISS
                                                others similarly situated,                         DEFENDANTS
                                           20
                                                                       Plaintiffs,
                                           21          vs.
                                           22
                                                CIGNA BEHAVIORAL HEALTH, a
                                           23   Minnesota Corporation, and MULTIPLAN
                                                CORP., a Delaware Corporation,
                                           24
                                                                       Defendants.
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                                                JOINT STIPULATION AND [PROPOSED] ORDER TO SUBSTITUTE AND DISMISS DEFENDANTS
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                                            1           This Stipulation is entered into by and among Plaintiff RJ, LW, and DS, and on behalf of all

                                            2   others similarly situated (the “Plaintiffs”), and Defendants Cigna Behavioral Health, Inc. (“CBH”)

                                            3   and MultiPlan Corp. (“MultiPlan”, and with CBH and Plaintiff, the “Parties”), by and through their

                                            4   respective counsel.

                                            5           Whereas, on April 2, 2020, Plaintiff filed a complaint against CBH and Viant, Inc. in the

                                            6   United States District Court for the Northern District of California, Case No. 20-cv-02255, RJ v.

                                            7   Cigna Behavioral Health, Inc., et al. (Dkt. 1);

                                            8           Whereas, CBH informed Plaintiffs that another Cigna entity, Cigna Health and Life

                                            9   Insurance Company (“CHLIC”), was the entity responsible for administering Plaintiff RJ’s claims;

                                           10           Whereas, Plaintiffs filed a First Amended Complaint on April 30, 2021 (Dkt. 63), that still

                                           11   named CBH, and also replaced Viant, Inc. with MultiPlan Corp.;
MCDERMOTT WILL & EMERY LLP




                                           12           Whereas, on a meet and confer on May 18, 2021, counsel for CBH reiterated that CBH was
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   not the proper party, and informed Plaintiffs that CHLIC is the party that contracted with each of

                                           14   Plaintiffs’ plan sponsors to provide the administrative services at issue in this litigation to their

                                           15   respective plans;

                                           16           Whereas, on the same call, counsel for MultiPlan informed Plaintiffs that MultiPlan Corp.

                                           17   was also not the defendant Plaintiffs had likely intended to sue, as MultiPlan, Inc. – not MultiPlan

                                           18   Corp. – is the entity that entered into a contract with Cigna;

                                           19           Pursuant to Federal Rule of Civil Procedure 15, the parties stipulate and agree that the

                                           20   Complaint in this action shall be deemed amended to substitute CHLIC for CBH, and CBH is

                                           21   hereby dismissed from this action;

                                           22           Pursuant to Federal Rule of Civil Procedure 15, the parties further stipulate and agree that

                                           23   the Complaint in this action shall be deemed amended to substitute MultiPlan, Inc. for MultiPlan

                                           24   Corp., and MultiPlan Corp. is hereby dismissed from this action;

                                           25           The parties further stipulate and agree that the caption in this action shall be amended to

                                           26   remove CBH and MultiPlan Corp. as defendants and to substitute CHLIC and MultiPlan, Inc. in

                                           27   their place.

                                           28           ///

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                                                JOINT STIPULATION AND [PROPOSED] ORDER TO SUBSTITUTE AND DISMISS DEFENDANTS
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                                            1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                            2
                                                 Dated: May 24, 2021           NAPOLI SHKOLNIK, PLLC
                                            3

                                            4
                                                                               By: /s/ Matthew M. Lavin
                                            5                                  MATTHEW M. LAVIN
                                                                               WENDY A. MITCHELL
                                            6                                  AARON R. MODIANO
                                            7
                                                                               DL LAW GROUP
                                            8
                                                                               DAVID M. LILIENSTEIN
                                            9                                  KATIE J. SPIELMAN
                                           10                                  Attorneys for Plaintiffs
                                           11
MCDERMOTT WILL & EMERY LLP




                                           12
                                                 Dated: May 24, 2021           MCDERMOTT WILL & EMERY LLP
                        ATTORNEYS AT LAW
                          LOS ANGELES




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                                           14
                                                                               By: /s/ William P. Donovan, Jr.
                                           15                                  WILLIAM P. DONOVAN, JR.
                                                                               JOSHUA B. SIMON
                                           16                                  WARREN HASKEL
                                                                               DMITRIY TISHYEVICH
                                           17

                                           18                                  Attorneys for Defendant
                                                                               CIGNA BEHAVIORAL HEALTH, INC.
                                           19

                                           20
                                                 Dated: May 24, 2021           PHELPS DUNBAR LLP
                                           21

                                           22                                  By: /s/ Errol J. King, Jr.
                                           23                                  ERROL J. KING, JR.
                                                                               CARYS A. ARVIDSON
                                           24                                  CRAIG L. CAESAR

                                           25                                  Attorneys for Defendant
                                                                               MULTIPLAN CORP.
                                           26

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                                                JOINT STIPULATION AND [PROPOSED] ORDER TO SUBSTITUTE AND DISMISS DEFENDANTS
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                                            1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

                                            2

                                            3   DATED: ___May 25, 2021___      __________________________________________________

                                            4                                     The Honorable Edward J. Davila
                                                                                  United States District Judge
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MCDERMOTT WILL & EMERY LLP




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                        ATTORNEYS AT LAW
                          LOS ANGELES




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                                            1                                             ATTESTATION

                                            2           Pursuant to Civil Local Rule 5-1, I, William P. Donovan, Jr., attest that all signatories listed,
                                            3   and on whose behalf the filing is submitted, concur in the stipulation’s content and have authorized
                                            4   the stipulation.
                                            5

                                            6

                                            7   Dated: May 24, 2021                       By:     /s/ William P. Donovan, Jr.
                                                                                                    WILLIAM P. DONOVAN, JR.
                                            8

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MCDERMOTT WILL & EMERY LLP




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                        ATTORNEYS AT LAW
                          LOS ANGELES




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                                                JOINT STIPULATION AND [PROPOSED] ORDER TO SUBSTITUTE AND DISMISS DEFENDANTS
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